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Form DOMSUP (12/13)
                                                   United States Bankruptcy Court
                                                    Western District of Michigan
                                                        One Division Ave., N.
                                                              Room 200
                                                       Grand Rapids, MI 49503


 IN RE: Debtor (name used by the debtor in the last 8 years,
 including married, maiden, trade, and address):
                                                                                         Case Number 14−04375−jtg
           Andrea J. Averill
           13396 Lime Lake Dr.                                                           Chapter 13
           Sparta, MI 49345−0186
           SSN: xxx−xx−4738                                                              Honorable John T. Gregg
                                                                  Debtor



                                     NOTICE OF REQUIREMENT TO FILE CERTIFICATE
                                     REGARDING DOMESTIC SUPPORT OBLIGATIONS


     You are hereby notified that ALL Chapter 13 debtor(s) upon completion of all plan payments must file a
certification with the Court stating either that (i) they are not liable for any domestic support obligations; or
(ii) all domestic support obligations payable by them that became due on or before the date of the
certification (including amounts due before the petition was filed, but only to the extent provided for by the
plan) under any judicial or administrative order, or by statute, have been paid pursuant to 11 U.S.C. §
1328(a).

    Failure to file the attached certificate indicating that all domestic support obligations have been paid or
that the debtor(s) is(are) not liable for domestic support obligations within 30 days of the date of service of
this notice may result in the case being closed without entry of a discharge.




Dated: May 2, 2018

1 Aliases for Debtor Andrea J. Averill : fka Andrea J. Crane, fka Andrea J. Wagenmaker
